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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION

RANDY RASKA,                                 )
                                             )
                            Plaintiff,       )
                                             )
       vs.                                   )      CASE NO. 2:09-cv-147
                                             )
BOB EVANS FARMS, INC.,                       )
                                             )
                            Defendant.       )

                     DEFENDANT BOB EVANS FARMS, INC.’S
                      MOTION FOR SUMMARY JUDGMENT

       COMES NOW Defendant Bob Evans Farms, Inc., by counsel Scott Bilse, and,

pursuant to Rule 56 of the Federal Rules of Civil Procedure, respectfully moves this

Court for Summary Judgment on all of Plaintiff Randy Raska’s claims. The grounds for

this Motion are that Defendant owed no duty to protect or warn Plaintiff of an open and

obvious condition on Defendant’s business premises, and that Plaintiff was

contributorily negligent as a matter of law for failing to avoid the condition. In support

of this Motion, Defendant hereby incorporates its Memorandum in Support and the

following exhibits, attached hereto:

       EXHIBIT A: Deposition of Randy Raska, dated August 19, 2010

       EXHIBIT B: Plaintiff’s Answers to Interrogatories

       EXHIBIT C: Authenticated Medical Records of Saint Anthony Memorial
       Hospital

       EXHIBIT D: Independent Medical Examination Report of Dr. Nicole F. Einhorn,
       dated September 16, 2010


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      EXHIBIT E: Deposition of Kay Wilson, dated August 18, 2010

      EXHIBIT F: Deposition of Tammy Raska, dated August 18, 2010

      EXHIBIT G: Deposition of Willie Hicks, dated August 18, 2010

      EXHIBIT H: Deposition of Scott Moore, dated August 24, 2010

      EXHIBIT I: Deposition of Kenneth Pepper, dated August 18, 2010

      EXHIBIT J: Deposition of Mary Bragg, dated August 19, 2010

WHEREFORE, Defendant Bob Evans Farms, Inc., respectfully moves this Court for

summary judgment on all of Plaintiff’s claims.

                                                 Respectfully submitted,

                                        ABRAHAMSON, REED & BILSE

                                 By:    /s/ Scott R. Bilse
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                                        Attorneys for Defendant Bob Evans
                                        Farms, Inc.




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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of May, 2011, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent notification
of such filing to the following:

      None,

and I hereby certify that I have mailed by U.S. mail, postage pre-paid, the document to
the following non-CM/ECF participants:

      Randy Raska
      1204 E. Michigan Blvd., Apt. C
      Michigan City, Indiana 46360

      Randy Raska
      109 Cleveland Ave
      Michigan City, IN 46360


                                                   /s/ Scott R. Bilse
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